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CERTIFICATE OF SERVICE

I, R. Craig Martin, Esq., certify that on the 2" day of November, 2009, I caused a true
and correct copy of the Post-Trial Brief of Morgan Stanley Senior Funding, Inc. in
Opposition to Confirmation of the First Amended Joint Plan of Reorganization Under
Chapter 11 of the Bankruptcy Code of W. R. Grace & Co., et al., the Official Committee of
Asbestos Personal Injury Claimants, the Asbestos PI Future Claimants’ Representative,
and the Official Committee of Equity Security Holders, Dated February 27, 2009 to be
served on the parties listed on the attached service list via email.

/s/ R. Craig Martin
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WLM 519187.1

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